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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 US DOMINION, INC., DOMINION                          )
 VOTING SYSTEMS, INC., and DOMINION                   )
 VOTING SYSTEMS CORPORATION,                          )
                                                      )
        Plaintiffs,                                   )
                                                      )
              v.                                      )   Case No. 1:21-cv-00445-CJN
                                                      )
 MY PILLOW, INC., and MICHAEL J.                      )
 LINDELL,                                             )
                                                      )
        Defendants.                                   )

                   PLAINTIFFS’ MOTION FOR STATUS CONFERENCE

       Plaintiffs US Dominion, Inc., Dominion Voting Systems, Inc., and Dominion Voting

Systems Corporation (“Plaintiffs”) respectfully move the Court for a status conference in order to

seek guidance from the Court on whether (i) this Court currently has jurisdiction over Defendants

and (ii) whether this case is consolidated for purposes of discovery with Plaintiffs and Defendants

in the Giuliani and Powell cases (identified more specifically below). Plaintiffs contend that the

answer to both questions is yes. Defendants maintain the answer is no.

       On Thursday, October 7, 2021, Defendants filed a Motion for Status Conference. That

motion and this one relate to the same issues. The following background explains the nature of the

disputes.

                                             1.

       Defendants filed motions to dismiss Plaintiffs’ complaint on April 19 and 22, 2021. (Dkt.

30, 34) On August 11, 2021, the Court issued an Order and Memorandum Opinion denying

Defendants’ motions to dismiss. (Dkt. 53, 54)




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                                              2.

       On August 23, in response to an unopposed motion for extension of time, the Court ordered

Defendants to answer or otherwise respond to Plaintiffs’ complaint no later than September 24,

2021. (8/23/21 Minute Orders)

                                              3.

       On August 24, the day after the Court set the unopposed deadline for Defendants to answer,

MyPillow moved the Court to modify its August 11, 2021 Order and Memorandum Opinion in

order to certify two proposed questions for immediate appeal. (Dkt. 58) Lindell joined in

MyPillow’s motion on August 25. (Dkt. 59) Plaintiffs filed a memorandum in opposition to the

motion on September 21 (Dkt. 72), and Defendants filed a reply memorandum on September 28

(Dkt. 76, 77). Defendants’ motion for modification is pending.

                                              4.

       While briefing was proceeding on Defendants’ motion for modification, on September 9

and 10, Defendants filed notices of appeal to the United States Court of Appeals for the District of

Columbia Circuit regarding the Court’s August 11 denial of their motions to dismiss. (Dkt. 64, 66)

The notice of appeal was docketed in the Court of Appeals on September 15, at which time the

appellate court set deadlines for the parties to submit various documents (including a November

1, 2021 deadline for the submission of dispositive motions) but ordered that briefing in the case be

deferred pending further order of the court. (USCA Case No. 21-7103 c/w No. 21-7104, 9/15/21

Order, Document #1914267)

                                              5.

       On September 23 and 24, instead of complying with the Court’s August 23 orders,

Defendants each filed a Notice in Lieu of Filing Answer. (Dkt. 74, 75) In their notices, Defendants




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informed the Court that, despite the Court’s August 23 orders, they would not answer or otherwise

respond to Plaintiffs’ complaint until after this Court rules on the motion for modification (Dkt.

58) and the Court of Appeals takes further action on their notices of appeal (Dkt. 64, 66).

                                               6.

       On September 17, the parties in US Dominion, Inc. et al v. Giuliani, No. 1:21-cv-00213-

CJN, submitted a Joint Meet and Confer Report pursuant to Local Civil Rule 16.3. (No. 1:21-cv-

00213-CJN, Dkt. 40) In that report, Plaintiffs informed the Court that the Giuliani case was related

to other matters pending before this Court, namely the instant case as well as US Dominion, Inc.

et al v. Powell et al, No. 1:21-cv-00040-CJN. Plaintiffs suggested that, in the interest of judicial

economy and minimizing the burden on third parties, discovery be consolidated among those

matters and a uniform Scheduling Order be negotiated and entered. In response, this Court issued

a Minute Order in US Dominion, Inc. et al v. Giuliani, No. 1:21-cv-00213-CJN, ordering the

parties to submit an updated Joint Meet and Confer Report once the Parties in all related cases

have had the opportunity to discuss a Joint Scheduling Order. (No. 1:21-cv-00213-CJN, 9/27/21

Minute Order) Three days later, on September 30, 2021, the Court entered a Minute Order in US

Dominion, Inc. et al v. Powell et al, No. 1:21-cv-00040-CJN, ordering the parties to submit a Joint

Meet and Confer Report once the Parties in all related cases have had the opportunity to discuss a

Joint Scheduling Order. (No. 1:21-cv-00040-CJN, 9/30/21 Minute Order)

                                               7.

       In accordance with the Court’s instruction, Plaintiffs’ counsel reached out to Defendants’

counsel and counsel for defendants in the Giuliani and Powell cases to schedule a meeting to

discuss the terms of a Joint Scheduling Order. MyPillow’s and Lindell’s counsel refused to

participate in a meeting; they asserted that their appeals divested the Court of jurisdiction and that




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they do not agree that Judge Nichols’s orders requiring coordination of discovery apply to this

case. Plaintiffs’ counsel and counsel for defendants in Giuliani and Powell met over Zoom on

Thursday, October 7, 2021. After discussion, Plaintiffs and the Giuliani and Powell defendants

agreed to briefly postpone discussions on a Joint Scheduling Order until this Court provides

direction on whether it currently has jurisdiction over Defendants and whether they must

participate. The parties were concerned that negotiating a schedule without Defendants would both

violate the intention of the Court’s previous orders and, to the extent the Court intended to include

Defendants’ cases in discovery coordination, require the parties to negotiate the terms of a Joint

Scheduling Order a second time, once Defendants are required to participate.

                                              8.

       As identified above, Plaintiffs and Defendants disagree as to the current status of this case

on two issues: (i) whether this Court currently has jurisdiction over Defendants and (ii) whether

Defendants’ cases are coordinated for discovery purposes.

                                              9.

       Plaintiffs believe that:

       (1) Defendants are improperly attempting to appeal an order that is clearly interlocutory

            and non-appealable. See Robertson v. Cartinhour, 691 F. Supp. 2d 65, 75 (D.D.C.

            2010) ( “[I]t is well-settled that neither a denial of a motion for summary judgment nor

            a denial of a motion to dismiss are considered ‘final orders’ that are appealable under

            § 1291”); Kilburn v. Socialist People's Libyan Arab Jamahiriya, 376 F.3d 1123, 1133

            (D.C.Cir.2004) (“Denial of a motion to dismiss for failure to state a claim under Rule

            12(b)(6) is not ordinarily subject to interlocutory appeal. It is neither a final decision

            nor a proper subject for appeal under the ‘collateral order’ doctrine.”) (citation




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            omitted); Hoffman v. Bailey, 668 Fed. Appx. 579, 580 (5th Cir. 2016) (finding that

            collateral order doctrine did not apply to court’s denial of defendant’s motion to

            dismiss plaintiffs’ defamation claims and appellate court therefore lacked jurisdiction);

       (2) Because Defendants are attempting to appeal orders that cannot be appealed, this Court

            continues to have jurisdiction over this case. See McKesson HBOC, Inc. v. Islamic

            Republic of Iran, 315 F. Supp. 2d 63, 66 (D.D.C. 2004) (“It is settled that a notice of

            appeal from an unappealable order does not divest the district court of jurisdiction.”);

       (3) As set forth above, Defendants violated this Court’s August 23, 2021 orders by filing

            a Notice in Lieu of Filing Answer rather than filing an answer on or before September

            24, 2021; and

       (4) The Court should require Defendants to answer Plaintiffs’ complaint without further

            delay and meet and confer with all counsel for Giuliani and Powell on the terms of a

            Joint Scheduling Order. See Hammon v. Barry, 752 F. Supp. 1087, 1092 (D.D.C. 1990)

            (“Instead of allowing the Hammon plaintiffs to willy-nilly deprive this Court of

            jurisdiction, thus bringing [these] proceedings to a standstill while a non-appealable

            ruling wends its way through the appellate process, the Court will disregard the notice

            of appeal [from a non-appealable order] and proceed with the case” (internal citations

            and quotation marks omitted)).

                                              10.

       Plaintiffs and Defendants agree that a conference with the Court is the most efficient way

to seek clarity on these issues. Plaintiffs proposed a joint motion for a status conference, but the

parties did not reach agreement on the content of the motion. Consequently, Defendants filed their




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motion on October 7, and Plaintiffs file theirs on October 8. Despite their differences, both motions

raise the same issues for resolution.

       For these reasons, Plaintiffs respectfully request that the Court set a status conference in

this matter.


  Dated: October 8, 2021
                                                            Respectfully submitted,

                                                                   /s/ Laranda Walker
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                              STATEMENT OF CONFERENCE

       In accordance with Local Rule 7(m), Plaintiffs state that the parties conferred regarding the

submission of a joint motion for a status conference prior to Plaintiffs filing this Motion.

Defendants stated that they do not oppose the request for a status conference; however, the parties

could not agree on the text of a joint motion.

                                                            /s/ Laranda Walker



                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 8th day of October, 2021, I will electronically file the foregoing

document with the Clerk of the Court using the CM/ECF system, which I understand will serve

counsel for the parties.

                                                            /s/ Laranda Walker




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